Case 2:21-cv-06453-SB-MRW Document 12 Filed 11/18/21 Page 1iof1 Page ID #:39

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

Case No.: CV 21-06453 SB (MRWx) Date: November 18, 2021

 

Title: Terry Fabricant v. Abstract Capital Inc. et al

 

 

Present: The Honorable STANLEY BLUMENFELD, JR., U.S. District Judge

 

Victor Cruz N/A
Deputy Clerk Court Reporter
Attorney(s) Present for Plaintiff(s): Attorney(s) Present for Defendant(s):
None Appearing None Appearing

Proceedings: [In Chambers]: ORDER TO SHOW CAUSE RE DISMISSAL
FOR LACK OF PROSECUTION

Plaintiff is hereby ordered to show cause in writing by not later then
November 24, 2021, why this action should not be dismissed for lack of
prosecution.

The court will consider the filing of the following as an appropriate response
to this Order to Show Cause, on or before the above date:

e Answer by the Defendant(s) or Plaintiff's request for entry of
default;

In accordance with Rule 78 of the Federal Rules of Civil Procedure and
Local Rule 7-15, no oral argument of this matter will be heard unless ordered by
the court. The Order will stand submitted upon the filing of the response to the
Order to Show Cause. Failure to respond to the court's Order shall result in
the dismissal of the action.

CV-90 (12/02) CIVIL MINUTES — GENERAL Initials of Deputy Clerk VPC

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